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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                          INDICTMENT

DESIGNATION FORM to be used by counsel to indicate the category of the case for the
purpose of assignment to appropriate calendar.
Address of Plaintiff: 615 Chestnut Street, Suite 1250, Philadelphia, PA 19106-4476

Post Office:   Philadelphia                            County:    Philadelphia

City and State of Defendant:     East Greenville, Pennsylvania

County:        Mercer                          Register number:       N/A

Place of accident, incident, or transaction:           Eastern District of Pennsylvania

Post Office: Philadelphia                              County:     Philadelphia
RELATED CASE, IF ANY:

Criminal cases are deemed related when the answer to the following question is Ayes@.

        Does this case involve a defendant or defendants alleged to have participated in the same
        action or transaction, or in the same series of acts or transactions, constituting an offense
        or offenses?

        YES/NO: No

     Case Number: N/A                      Judge: N/A
CRIMINAL: (Criminal Category - FOR USE BY U.S. ATTORNEY ONLY)
1.                Antitrust
2.                Income Tax and other Tax Prosecutions
3.                Commercial Mail Fraud
4.                Controlled Substances
5.               Violations of 18 U.S.C. Chapters 95 and 96 (Sections 1951-55 and 1961-68)
               and Mail Fraud other than commercial
6.                General Criminal
        (U.S. ATTORNEY WILL PLEASE DESIGNATE PARTICULAR CRIME AND
        STATUTE CHARGED TO BE VIOLATED AND STATE ANY PREVIOUS
        CRIMINAL NUMBER FOR SPEEDY TRIAL ACT TRACKING PURPOSES):
        18 U.S.C. § 248(a)(1) (Freedom of Access to Clinic Entrances Act – Attack of Patient
        Escort – 2 counts)


DATE:     9/20/2022                            /s/ Anita Eve
                                               Anita Eve
                                               Assistant United States Attorney
File No. 2022R00
U.S. v. Mark Houck
